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               1. Provide payback of accrued vacation allowance to be taken in
                  corresponding consecutive vacation days in a block(s) that is seniority
                  respective at his/her domicile per Article 6.1 of the AA/APFA
                  Collective Bargaining Agreement, within 13 months following the end
                  of the applicable term; or
               2. The APFA will provide the departing National Officer with the
                  appropriate Flight Attendant vacation by means of cash reimbursement
                  at a rate prorated on the National Officers annual salary for the period
                  of APFA vacation allowance owed less applicable state and federal
                  taxes.

        Plaintiff argued that Defendant Ross was paid 14 days of vacation for fiscal year 2017
which ran from April 2016 and through March 2017. Ross used four vacation days and was entitled
to be paid out 14 of the remaining 31 days. Ross was paid that amount in 2017. In fiscal year 2018
Ross was entitled to be paid out an additional 14 vacation days as he used 6 days and should have
received the maximum 14 days. Ross was also entitled to his end of term vacation which provides
that he can receive vacation he would have accrued during present and previous year. For bidding
purposes as a Flight Attendant, he should have received 35 days of vacation. So, the total amount
Ross should have received in 2018 was 49 days which would have been 35 days for the end of
term and 14 days maximum payout for fiscal year 2018. This is on top of the 14 days Ross already
received for fiscal year 2018.

        Plaintiff additionally argued that Ross received 101.44 days paid out in the amount of
$38,574.68. Part of this payment includes the inflated pay which is the subject of a separate
violation. Ross was overpaid 52.44 hours of vacation.

        Defendant Ross argued the Ross TA is controlling. Defendant Ross would be paid any and
all accrued and unused sick and vacation from April 1, 2016 – July 31, 2018. The calculation of
the unused days was to be paid as though Ross was able to use any of those days while in office
as President for his remaining 5 months had he not resigned. There was no agreement that these
days were not to be paid per Policy as the Charging Party insists. An investigation into the payout
of the Sick and Vacation days paid, brought about by the Charging Party’s allegations, revealed
Ross was not properly paid all of his accrued and unused Sick days from April 1, 2016 – July 31,
2018. Ross earned and did not use 18 Sick days in each of the fiscal years April 2016-March 2017
and April 2017-March 2018. Ross was only paid Per Policy 6.B.3.d Offset/Loss of Sick Time, of
12 days for each fiscal year. The additional 12 days, (6) days Apr. 2016-2017 and (6) days Apr.
2017-2018 have still not been acknowledged or paid to Ross in accordance with the Ross TA. The
value of these lost Sick days, depending on the calculation used, is in excess of $3400 is still owed
to Ross.

       The arbitrator finds that MEA and SAF is guaranteed to the National Officers to
compensate them for not working as a Flight Attendant. The TA provides for “Full Salary”
including benefits. While one can argue that MEA and SAF is a guaranteed benefit, the Policy
Manual states it is not wages or benefits but rather are expenses as stated in Section 5 of the Policy
Manual. The TA does not mention MEA and SAF as a benefit but the purpose of providing a
guaranteed MEA and SAF to the National Officers so they would not suffer monetarily. MEA and




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SAF is a guaranteed expense to be paid monthly to the National Officers. If Defendant Ross did
not receive the MEA and SAF that he was guaranteed as a National Officer, it would then be
reasonable to assume that he would suffer monetarily. The TA states he will continue to receive
his current full salary and benefits. The language regarding benefits in Section 6 of the Policy
Manual and expenses in Section 5 of the Policy Manual is clear and unambiguous. However, if the
BOD enters into a TA with an employee to pay his full salary for an additional 5 months without
working then the TA language would be in conflict with the language over expenses (guaranteed
MEA and SAF for National Officers) in Section 5 of the Policy Manual. During these five months
of the TA that Defendant Ross was paid his full salary, no evidence was introduced that Defendant
Ross worked as a Flight Attendant while receiving guaranteed MEA and SAF. Under normal
circumstances, expenses are listed in box 1 of a W-2 but they are not considered wages or salary.
It is therefore, the Opinion of this arbitrator the intent of the TA reached between Attorney Mark
Richards, Robert Ross and the 2018 BOD was for the purpose of maintaining the “status quo ante”
for Defendant Ross. Thus, it would be reasonable to conclude Defendant Ross received MEA and
SAF for the months of March through July 2018 as a guaranteed expense benefit. However, it
should be noted that MEA and SAF are expenses and are not to be included in or considered with
his full salary for use in the payout determination of accrued sick and vacation leave. For these
reasons, the arbitrator is of the Opinion this charge over MEA and SAF should be dismissed.

       With respect to sick and vacation payout, the APFA Board of Directors has determined
that Defendant Ross was overpaid in the amount of $5,436.47 in 2018. “The Board’s finding was
based on the results of a review from an independent accounting firm which determined that the
formula used to determine the daily rate for your sick and vacation payout was incorrect.” Record
evidence revealed National Treasurer Vasquez admitted he had changed the formula without the
approval of the BOD or the EC.

         Moreover, it is the arbitrator’s understanding that Defendant Ross has refused to repay
$5,436.47 to APFA and is presently in litigation to recoup the money owed to APFA. The arbitrator
finds this is very troublesome in view of the fact that he is a standing Board member and the other
National Officers have acknowledged the computation of their debt and has either paid their debt
in full or have arranged to pay off their debt. As National President, Defendant Ross was elected
to a position of trust with the responsibility of protecting APFA assets. Ross has a Fiduciary duty
to the membership of the APFA and this arbitrator finds that he has abused this trust.

       It is therefore arbitrator’s Opinion, Defendant Ross has failed and abused his Fiduciary
Duty. The non-payment of these monies reveals Defendant Ross is not accepting this
responsibility. Thus, it is this arbitrator’s Opinion that Defendant Ross should be and is hereby
Ordered to immediately repay the APFA $5,436.47.

Leasing an Apartment at the Bear Creek Complex

        The APFA provides National Officers two choices for relocating to the Dallas metroplex.
They can either accept a corporate apartment or they can accept the relocation moving expense
entitling them up to $10,000 in moving expenses. But they are required to select their choice before
they move. Here, the record evidence revealed Defendant Ross accepted both choices. Plaintiff
argued that Defendant Ross leased an apartment at the Bear Creek Complex on June 1, 2016.




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Defendant Ross testified and denied leasing an apartment at the Bear Creek Complex but after
Plaintiff showed him documentation, Defendant Ross then admitted that he had leased the
apartment at the Bear Creek Complex for one year to be paid by APFA.

        On Defendant Ross’s weekly report, he claimed that he was house hunting on June 7 and
8, 2016. Defendant Ross explained that his children’s school in California ended in June 2016.
Kim Ross, packed household items into pods without furniture because their furniture was too
large for the South Lake home and was delivered in August 2016. Defendant Ross decided to order
furniture from Ashley furniture and ordered $3,637.00 worth of furniture on August 13, 2016 with
the APFA credit card. Defendant Ross denied that he had ordered the furniture for his residence,
that it was ordered for the corporate apartment because it had no furniture. Documentation was
presented to Defendant Ross revealing he had the furniture delivered to the South Lake residence
on August 18 and 25, 2016. Thus, Defendant Ross chose both options for his own personal benefit
and was not looking out for APFA’s benefit. He also acquired APFA furniture to be moved to his
his residence per Mike Trapp’s testimony when he was not entitled to do so. As a result of his
actions, the corporate apartment he leased for his own personal benefit at the Bear Creek Complex
cost APFA $8,106.13 which is an unnecessary expense for the APFA.

       Thus, it is the arbitrator’s Opinion, that Defendant Ross abused his Fiduciary duty to the
membership of the APFA and should be assessed the cost of leasing that apartment in the amount
of $8,106.13.

Conclusion:

        The arbitrator finds that throughout this proceeding, Defendant Ross intentionally and
willfully ignored the provisions of the APFA Policy Manual and thus, has violated and abused his
fiduciary duty entrusted to him by the APFA membership. Ross’s testimony was inconsistent and
not forthright. Because Ross abused his position of trust as well as his fiduciary duty to the
membership of the APFA, he can no longer hold a position of trust with the APFA. Moreover,
Article VII, Section 1 of the APFA Constitution provides that:
        1. Any member is subject to fine, suspension or expulsion, or suspension from or removal
            from office, for any of the following acts:
        ……
        F. Willful violation of an express Article of this Constitution, or of a proper and express
            written resolution or policy of the Board of Directors or the Executive Committee;

        Here, Defendant Ross has overwhelmingly violated the APFA Policy Manual and APFA
Constitution. Ross has refused to repay APFA for an inappropriate overpayment in the amount of
$5,436.47. The Union has been forced to put the matter in collections after Ross refused and is
now forced to commence a lawsuit against Ross. The policy manual has a procedure for APFA
representatives to follow if they disagree with the determination on any expenses which is to appeal
to the APFA Executive Board and Board of Directors per Section 5.B. Ignoring the Board of
Directors is not an option, especially for a sitting Board member. John Nikides testified that Ross’s
refusal to repay APFA as a sitting Board member undermines the Union, and the memberships
faith in its officers.




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         Plaintiff argued that Defendant Ross should be expelled from membership. It is the Opinion
of this arbitrator that Defendant Ross should be prohibited from serving in any official position
for life within the APFA organization that is set forth and included in the APFA Constitution and
Policy Manual that is covered or identified. Additionally, if Ross currently holds any official
position presently, he is to resign said position. This is to bar Ross from any official position for
life other than that of member.

                                                REMEDY

   1. The APFA will hire an Independent Forensic Auditor to audit Robert Ross’ weekly
      reports, monthly reports and APFA credit card charges from April 1, 2016 through July,
      2018 and perform the following tasks:

   Specifically:
               y
      a. The Auditor shall inspect p the receipts  p for the Ross familyy vacation taken in the
          Grand Canyon  y in August g     2016. Ross claimed all of hotel stays,     y , meals and
          mileageg chargesg as relocation movingg expenses
                                                         p       when some are for a ppersonal
          vacation. Please determine what costs should not have been claimed as
          relocation movingg expenses.
                                    p         Ross is liable for the excess cost and is hereby
          Ordered to repayp y APFA for all inappropriate
                                                   pp p       charges!
                                                                  g
      b. The Auditor shall inspect p Ross’ APFA credit card usage       g for ppersonal and ggroup  p
          meals and ppurchases for personal
                                       p         items such as tools,, toiletries,, bath towels,, and
          candyy from April p 1,, 2016 through   g Julyy 2018 and determine the cost of all
          inappropriate
               pp p         charges.
                                 g     If no documentation was pprovided to support      pp     each
          ppurchase was a union related business cost,, then Ross is liable for all
           inappropriate
               pp p         charges
                                 g and is hereby Ordered to repay the APFA for all
           inappropriate
               pp p        charges!
                                g
      c. The Auditor shall inspect   p     all of Ross’ rental car usage  g from April p 1,, 2016
                 g October 16,, 2016 and determine if these rentals were for union related
           through
           business. the entire cost for. APFA paid p for the rental cars but there should be
           documentation to show if it was for union related business. If not,, Ross is to be
           assessed the cost of the rental cars dduringg the above period   p        and is hereby
           Ordered to repay
                          p y APFA for inappropriate
                                               pp p       rental car usage!
                                                                          g
      d. The Auditor shall inspect  p     all of Ross’ claimed mileage   g from the Sacramento
               p to his residence ((42 miles)) and return (42
           Airport                                             ( miles)) as well as all monthly     y
           pparkingg of his personal
                            p         car. He claimed $105.00 pper month from April     p 1,, 2016
                 g Julyy 2016 to park
            through                   p     his car at the Sacramento airport.p       Ross is to be
            assessed the mileage g and monthly     y parking
                                                     p      g he claimed and Ross is hereby
            Ordered to repay APFA for all of these inappropriate charges!

   2. Ross is hereby Ordered to immediately repay the APFA $5,436.47 per the finding of the
      APFA Board of Directors. An independent accounting firm determined the formula used
      to determine the daily rate assessed for sick and vacation payout was incorrect.
   3. Ross is hereby Ordered to repay the APFA $8,106.13 for leasing an apartment at the Bear
      Creek Complex where he had no intention of occupying.
   4. Ross is hereby fined and Ordered to repay the APFA for all of the Arbitrator’s Fee for
      this arbitration.



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  5. Ross is hereby ordered to repay the APFA the full cost of hiring the Independent Forensic
     Auditor.
  6. Ross is hereby    y Ordered to repay
                                      p y $3,637.00
                                              ,        to the APFA for all of the furniture he had
     ppurchased and delivered to his residence located in South Lake,, Texas.
  7. Ross is prohibited
                p           from servingg in anyy official position
                                                            p       within the APFA organization
                                                                                           g
      that is set forth and included in the APFA Constitution and Policyy Manual that is covered
      or identified. If Ross currentlyy holds anyy official position
                                                              p       presently,
                                                                      p        y, he is to resign
                                                                                                g said
      pposition. This is to bar Ross from anyy official position
                                                          p        for life other than that of member.
  8. The APFA if it hasn’t done so,, must create a separate p     bodyy of trained forensic
       accountants to oversee the annual audit and to create pprocedures and recommendations to
       ppreclude fraud for the BOD’s review and action to be included within the Policy        y Manual.
        National Officers or Officers who have the authorityy to extend APFA to credit or use of
        an APFA credit card must be held economicallyy responsible.
                                                                p          The language
                                                                                   g g created must
        be veryy clear and unambiguous.
                                   g       Trainingg over the LMRDA must be a requirement
                                                                                      q            for all
        National Officers or anyy pperson who can extend APFA to credit and whom is given     g     an
        APFA credit card. These individuals must sign   g a document declaring    g and attestingg that
        theyy have read and understand their responsibilities
                                                  p             in usingg an APFA credit card or
        extendingg credit to the APFA for rental cars,, apartments,
                                                           p          etc., and that negligence will not
        be toleratedd and will be dealt with severe ppenalties.
  9. The arbitrator shall retain jjurisdiction over anyy issue involvingg this remedyy only. y Moreover,,
        if the Independent
                    p         Auditor determines anyy monies are due from Ross,, that will be the
        amount to be assessed or due for repayment
                                                p y       to the APFA. The APFA shall either Order
        said repayment
                p y       from Ross or submit the Independent p        Auditors findings to have this
        arbitrator issue a Supplemental Decision and Remedy
                                                         Remedy.

                                               AWARD

      The grievance is sustained in part and denied in part.

      Issued in San Antonio, Texas the 19th day of March, 2021.




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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF TEXAS
                            FT. WORTH DIVISION

ROBERT “BOB” ROSS                      §
Plaintiff/Counterclaim Defendant       §
                                       §      Case No. 4:22-CV-00343-Y
                                       §
                                       §
ASSOCIATION OF                         §
PROFESSIONAL FLIGHT                    §
ATTENDANTS, MCGAUGHEY,                 §
REBER AND ASSOCIATES, INC.,            §
JULIE HEDRICK, ERIK HARRIS,            §
LARRY SALAS, JOSH BLACK                §
Defendants/Counterclaim Plaintiff.     §
                                       §
EUGENIO VARGAS                         §
Plaintiff/Counterclaim Defendant       §
                                       §      Case No. 4:22-CV-00430-Y
                                       §
                                       §
ASSOCIATION OF                         §
PROFESSIONAL FLIGHT                    §
ATTENDANTS, JULIE HEDRICK,             §
ERIK HARRIS, LARRY SALAS,              §
JOSH BLACK
Defendants/Counterclaim Plaintiff.     §
                                       §

                         AFFIDAVIT OF HEIDI MORGAN



BEFORE ME, the undersigned authority, on this day personally appeared Heidi

Morgan, who being by me first duly sworn, did state:

      1.    “I am employed as a flight attendant working with American Airlines, Inc. since

            1986, and I am currently serving as APFA Miami Base Vice-President. I have

            personal knowledge of the facts contained herein, I am 21 years or older

            and of sound mind to make these statements.




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            a. In 2021, I participated as a representative for Eugenio Vargas’ in his APFA

               disciplinary arbitration hearing brought on behalf of the union by Melissa

               Chinery-Burns and Sandra Lee. I further participated as a representative for

               Nena Martin in her APFA disciplinary arbitration hearing brought on behalf of

               the union by Melissa Chinery-Burns and Sandra Lee. The charges sought

               disciplinary measures against Eugenio Vargas and Nena Martin for their

               participation in the alleged overpayment of Robert “Bob” Ross under his

               Transition Agreement among other charges.

            b. Whilst serving as representative to Nena Martin, I served Erik Harris, APFA

               National Treasurer and APFA custodian of record, with a signed subpoena

               making the following requests:

                     “1.   Any and all communication between Hal O'Neil, CPA from

                     Certified Public Accountants Firm Wood, Stephens & O'Neil, L.L.P. and

                     APFA regarding the Ross Transition Agreement.

                     2.    Any and all internal APFA emails which distributed the

                     communications between Hal O'Neil and APFA to the designated

                     parties.” (“Confidential Memo Subpoena”).
                                                   Subpoena”
                                                    u       ).

            c. The initial subpoena was served on April, 20, 2022. It is standard for document

               production to be served in APFA’s Digify Software Program within two to four

               days from the date reflected on the signed subpoena.

            d. An email was deposited into APFA’s Digify Software Program dated April 20,

               2022, wherein Erik Harris forwarded to Margot Nikitas and the four National




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               Officers an email exchange between Hal O’Neil and Erik Harris to schedule a

               meeting for discussion and review of the Ross Transition Agreement. A true

               and correct
                     r     copy of this email is attached hereto and marked as Exhibit B-1.

            e. No documents transmitting the Confidential Memo were produced before May

               3, 2022. A true and correct copy of email exchanges made regarding Nena

               Martin’s Arbitration Hearing are attached hereto and marked as Exhibit B-2.

            f. On or about May 3, 2022, I spoke with Erik Harris on a telephone conversation

               about the failure to produce the internal emails distributing the Confidential

               Memo. Erik Harris informed me that he received the Confidential Memo Email

               from Hal O’Neil on October 22, 2020, and that uupon its receipt on October 22,

               2020, Mr. Harris immediately forwarded the Confidential Memo Email to Julie

               Hedrick, AFPA National President, Josh Black, AFPA National Secretary,

               Larry Salas, AFPA National Vice-President (“APFA National Officers”)

               Margot Nikitas, AFPA General Counsel, and William Osborne, APFA Outside

               Counsel.

            g. In this May 3, 2022 conversation, Erik Harris also stated that upon receipt of

               the Confidential Memo Subpoena Mr. Harris resent the Confidential Memo

               Email to the APFA National Officers and to Nikitas on April 20, 2022. Mr.

               Harris further stated that in response to the request for email distribution of the

               Confidential Memo, Nikitas advised Mr. Harris not to produce any internal
                                                                                    r

               emails. Mr. Harris stated that he followed Nikitas’s legal advice on this matter.

            h. In this May 3, 2022 conversation, Erik Harris further stated that he did not

               disclose the Confidential Memo to the APFA Board of Directors and the APFA




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               Executive Committee, revealing only the spreadsheet attachments, because he

               did not believe the Confidential Memo was relevant to the charges against Ross

               and Vargas.

            i. I discovered on the evening of May 3, 2022 that an email dated for April 20,

               2022 (“April 20, 2022 Email”) was deposited into APFA’s Digify Software

               program responsive to the Confidential Memo Subpoena. This email shows that

               Mr. Harris received an email from Hal O’Neil dated October 22, 2020

               containing the Confidential Memo (“Confidential Memo Email”). Mr. Harris

               forwarded the Confidential Memo Email to Julie Hedrick, AFPA National

               President, Josh Black, AFPA National Secretary, Larry Salas, AFPA National

               Vice-President, Margot Nikitas, AFPA General Counsel on April 20, 2022. A

               true and correct copy of the April 20, 2022 email is attached hereto and marked

               as Exhibit B-3.

            j. On or about October 11, 2022, I was served with a subpoena by Robert “Bob”

               Ross on his pending case numbered 22-CV-00343 pending before the Northern

               Texas Federal District Court, wherein Ross sought any documents in my

               possession related to the disciplinary arbitration hearings against Robert “Bob”

               Ross, Eugenio Vargas, or Nena Martin. In response to the subpoena request, I

               delivered a true and correct copy of the April 20, 2022 email exchange, and

               email exchange between Hal O’Neil and Erik Harris.




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      FURTHER AFFIANT SAYETH NOT.


                                           ____________________________________
                                           Heidi Morgan


      SWORN AND SUBSCRIBED TO before me on this _____day of July 2023.




                                           ____________________________________
                                           Notary Public, State of Florida




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Margot Nikitas

From:                                       Erik Harris
Sent:                                       Wednesday, April 20, 2022 6:19 PM
To:                                         Margot Nikitas; Officers
Subject:                                    FW: Meeting next week?




--
Erik Harris Pronouns: he, him, his
National Treasurer
Association of Professional Flight Attendants
Office 817.                   | Email eharris
The content of this email is intended solely for the recipient(s).
It is not to be shared, forwarded or posted without the author's written consent.




From: Hal O'Neil <oneil
Date: Monday, September 14, 2020 at 1:26 PM
To: Erik Harris <eharris
Cc: Chris Thedford <cthedford@          Pam Bush <pbush
Subject: Re: Meeting next week?

Erik, Chris.......Pam and I can meet this Thursday around 9:00 AM at your office to go over the Bob Ross
document list. Is this OK?

Thanks, Hal
____________________________________
Hal O'Neil, CPA
Wood, Stephens & O'Neil, L.L.P.
6300 Ridglea Place, Suite #318
Fort Worth, TX 76116




Important/confidential: This communication and any files or documents attached to it are intended only for the use of the
person(s) or entity to which it is addressed; consequently, it may contain information which is privileged and
confidential. If you are not the intended recipient(s) of this communication, you are hereby notified that the copying,
distribution or other use of this communication is strictly prohibited. If you have received this communication by mistake,
please notify the sender immediately by electronic mail and destroy all forms of this communication (electronic or paper).
Thank you.
___________________________________
Any tax advice contained in this communication (including any attachments) is not intended or written to be used, and
cannot be used, by the recipient for the purpose of avoiding tax penalties that may be imposed or promoting, marketing or
recommending to another party any transaction or tax-related matter(s).
____________________________________

                                                                              1
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On Thu, Sep 10, 2020 at 12:46 PM Erik Harris <eharris                                wrote:

 Hey Hal-



 My apologies. I’m finally getting a chance to catchup on emails.



 Yes, Thursday the 17th will work for us. I will be on vacation, however, the other officers will be available.



 Thanks,



 Erik



 --


 Erik Harris
 National Treasurer

 Association of Professional Flight Attendants

 Office                       | Email treasurer

 The content of this email is intended solely for the recipient(s).

 It is not to be shared, forwarded or posted without the author's written consent.




 From: "oneil@                  <oneil
 Date: Wednesday, September 9, 2020 at 3:46 PM
 To: Erik Harris <eharris
 Cc: Chris Thedford <cthedford@          Pam Bush <pbush@w
 Subject: Meeting next week?



                                                                             2
                                                                                                    APPENDIX 148
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Erik........Last week I responded to your email regarding our review of the Bob Ross documents. Pam and I
can come out to your office on Thursday morning the 17th to meet with you, Chris and hopefully Margot
before we begin this process. I just want to make sure all of us are in agreement of what needs to be
completed before Sept.24th. Will that morning work for you?




____________________________________
Hal O'Neil, CPA
Wood, Stephens & O'Neil, L.L.P.
6300 Ridglea Place, Suite #318
Fort Worth, TX 76116




Important/confidential: This communication and any files or documents attached to it are intended only for the use of the
person(s) or entity to which it is addressed; consequently, it may contain information which is privileged and
confidential. If you are not the intended recipient(s) of this communication, you are hereby notified that the copying,
distribution or other use of this communication is strictly prohibited. If you have received this communication by mistake,
please notify the sender immediately by electronic mail and destroy all forms of this communication (electronic or paper).
Thank you.
___________________________________
Any tax advice contained in this communication (including any attachments) is not intended or written to be used, and
cannot be used, by the recipient for the purpose of avoiding tax penalties that may be imposed or promoting, marketing
or recommending to another party any transaction or tax-related matter(s).
____________________________________




                                                            3
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From: Heidi Kidwell
Sent: Tuesday, April 19, 2022 6:27 PM
To: ArticleVII; Nena Martin
Subject: FW: Chinery-Lee v. Martin-- Subpoenas

Josh,

Please forward to the Arbitrator immediately.

Heidi

Arbitrator Armendariz,

After extensive discussions if Chinery and Lee care to dismiss all charges then we will withdraw our
subpoena requests, but otherwise, the documents are pertinent to our defense in its totality and are
absolutely necessary. Furthermore, as stated earlier denial of them would place any award issued by
the arbitrator into question under article 9 section 10 of the FAA to vacate an award.

In addition, Section 102 gives Nena Martin the right to sue for violation of Section 29 U.S.C. 411. Ms
Nikitas should be reminded that there are criminal and civil penalties for violations of this statute. The
Pennsylvania Bar will also be noticed of her infringement of a members bill of rights.

Margot Nikitas works for Nena Martin as much as she does Chinery and Lee and we demand the same
consideration, frankly, more so because we should have complete access to all documents needed to
exonerate Nena Martin.

This attempt to stifle a members access to information that is pertinent to her case is illegal.

Heidi Morgan
For
Nena Martin

From: Heidi Kidwell <heidimorgan65
Date: April 19, 2022 at 5:25:22 PM EDT
To: ArticleVII <ArticleVII@          Nena Martin <nenarott               >
Subject: RE: Chinery-Lee v. Martin-- Subpoenas


Josh,

Please send to the Arbitrator immediately.

Heidi

Arbitrator Armendariz,




                                                                                  APPENDIX 150
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The requested documents are absolutely necessary for the totality of our case. They are clarifying
documents and we are renewing our request for the subpoenaed items. To withhold this information
from us would be a refusal to provide evidence pertinent and material to the controversy.

Ms. Nikites is showing complete partiality and bias to the charging party. Ms. Martin has rights under
the Federal Arbitration Act that must not be violated or this award could end up in Federal Court due to
the prejudice being exhibited when denying our request.

APFA has no right to determine the relevance of our requested documents.

We are renewing our request for these documents.

Heidi Morgan
For
Nena Martin

Sent from Mail for Windows

From: ArticleVII
Sent: Tuesday, April 19, 2022 4:39 PM
To: Heidi Kidwell; Nena Martin
Subject: FW: Chinery-Lee v. Martin-- Subpoenas



From: Margot Nikitas <MNikitas
Date: Tuesday, April 19, 2022 at 2:49 PM
To: ArticleVII <ArticleVII
Subject: Chinery-Lee v. Martin-- Subpoenas

Hi Josh,

Please send this email to the Arbitrator with a copy to all parties and their representatives.

Thanks,
Margot

Arbitrator Armendariz,

APFA is in receipt of your email dated April 18, 2022, stating: “Inform Erik Harris to provide the
requested documents per the subpoena’s request.” As such, APFA will provide electronic copies of the
requested documents and there is no need for a conference call to discuss this matter. We are working
now to provide all of the requested documents.

APFA also is in receipt of the Charging Parties’ email dated April 18, 2022, stating in part: “In light of the
decisions in the cases of Chinery/Lee vs Ross and Chinery/Lee vs Vargas, we are withdrawing the portion
of our charges related to Nena Martin’s failure to properly administrate the exit package provided to




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Bob Ross.” Since this claim has been withdrawn, any subpoenaed documents related to the Bob Ross
Transition Agreement are unrelated and irrelevant to this proceeding and will not be provided.

Finally, APFA respectfully requests that the Arbitrator signed the attached revised protective order
necessary to protect confidential APFA financial records produced in this proceeding. The revised order
clarifies that documents are to be returned or permanently deleted within 7 days of the submission of
post-hearing briefs.

Thank you,
Margot

Margot A. Nikitas Pronouns: she, her, hers
General Counsel
Association of Professional Flight Attendants
1004 W. Euless Boulevard
Euless, TX 76040


www.apfa.org

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you are not the intended recipient, you have received this email in error, and any further review, dissemination, distribution, copying or
forwarding of this email is strictly prohibited. If you received this email in error, please notify me immediately at 817.540.0108 ext. 8108 or by
return email and then delete this email in its entirety. Thank you.




                                                                                                                APPENDIX 152
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From: ArticleVII <ArticleVII
Date: April 27, 2022 at 10:02:13 AM EDT
To: Heidi Kidwell <heidimorgan65                 Nena Martin <nenarott
Subject: Fwd: Subpoena for documentation



From: Ruben Armendariz <arbruben@
Sent: Wednesday, April 27, 2022 8:38:23 AM
To: ArticleVII <ArticleVII
Subject: Re: Subpoena for documentation

Josh and Margot,

Please provide the information requested to Ms. Morgan. If you don’t have the info, please state why
you don’t have the info!

Sent from my iPhone
Ruben R. Armendariz, Arbitrator
Member: National Academy of Arbitrators



arbruben


On Apr 27, 2022, at 8:20 AM, ArticleVII <ArticleVII           wrote:



From: Heidi Kidwell <heidimorgan65
Sent: Wednesday, April 27, 2022 5:08:43 AM
To: Erik Harris <eharris@       >; ArticleVII <ArticleVII@             Nena Martin <nenarott
Subject: FW: FW: Subpoena for documentation

Josh,

This communication is both for Treasurer Erik Harris and the Arbitrator. I am copying in Erik and request
you immediately forward to Arbitrator Armendariz.

Heidi


Erik,

On 4/20/22 we requested 2 simple things by legally signed subpoena from our Arbitrator. Today,
4/27/2, one week later, we have yet to receive those documents which must still be exchanged. This is
not acceptable.




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I would like some simple answers. Do you have these documents prepared to send? If so, why haven’t
you sent them? Has anyone told you not to release these documents per the subpoena? If so, who?

For your information Section 10 of the Federal Arbitration Act outlines grounds by which an Award can
be vacated. Where there was corruption, fraud or undue means. If there is evident partiality, refusing to
hear evidence pertinent and material to the controversy or any other misbehavior by which the rights of
any party have been prejudiced.

In all of these situations your department would be a named party in refusing to provide documents
which were to be released to us. Your department has a duty to fulfill the signed subpoenas and if you
are being given legal advice to NOT provide them we demand to know so the Arbitrator knows exactly
what we are dealing with.

We request an answer today, 4/27/22. If you do not expeditiously provide these documents we will
consider requesting a delay in hearing which will need to be granted per the F.A.A. because we can
show sufficient cause by presenting the APFAs refusal to provide subpoenaed documents which are
pertinent and material to the controversy.

Thank you,

Heidi Morgan
For
Nena Martin

Sent from Mail for Windows

From: ArticleVII
Sent: Tuesday, April 26, 2022 7:07 PM
To: Heidi Kidwell; Nena Martin
Subject: FW: FW: Subpoena for documentation



From: Ruben Armendariz <arbruben
Date: Tuesday, April 26, 2022 at 10:21 AM
To: ArticleVII <ArticleVII
Subject: Re: FW: Subpoena for documentation

Josh,

Please forward to Margot to respond to Ms. Morgan.

On Tue, Apr 26, 2022 at 9:40 AM ArticleVII <ArticleVII@           wrote:




                                                                                APPENDIX 154
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 From: Heidi Kidwell <heidimorgan65
 Date: Monday, April 25, 2022 at 9:21 PM
 To: Erik Harris <eharris@           National Treasurer <treasurer@                    ArticleVII
 <ArticleVII@          >, Nena Martin <nenarott
 Subject: FW: Subpoena for documentation

 Josh ,

 Please forward our communication with APFA National Treasurer Erik Harris to Arbitrator Armendariz.

 Heidi




 Erik,

 As you can see below, 6 days ago we sent you a signed subpoena request for documents pertinent to
 our case. As of the date and time of this email we have yet to receive the requested documents.

 Those documents were commanded by the sitting Arbitrator to be presented to us. Per the Federal
 Arbitration Act refusing to hear evidence pertinent and material to the controversy; or any misbehavior
 by which the rights of the party have been prejudiced can cause an award to be vacated. It is our belief
 your department and/or APFA Legal Counsel is withholding these documents from us intentionally and
 thereby violating a legal subpoena.

 We demand this subpoena request be fulfilled immediately, explanation be given as to why there has
 been a delay and immediate intervention by Arbitrator Armendariz to ensure we receive the
 subpoenaed document and the process has integrity as is legally required by the F.A.A.

 Heidi Morgan
 FOR
 Nena Martin


 Sent from Mail for Windows

 From: Heidi J. Morgan
 Sent: Wednesday, April 20, 2022 6:53 PM
 To: National Treasurer; nena martin
 Subject: Subpoena for documentation


 Erik,

 Please find the attached & signed subpoena for documentation.




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 Heidi Morgan
 For
 Nena Martin




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